                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MAINE
______________________________________________________________________________

JOHN DOE,                           )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )           Civil Action No. ___________
                                    )
 SARA SMITH,                        )
                                    )
                                    )
      Defendant.                    )
______________________________________________________________________________

            COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES
______________________________________________________________________________


         Plaintiff John Doe (“John Doe”), by and through counsel, files this Complaint for

Injunctive Relief and Damages (the “Complaint”) against Defendant Sara Smith (“Defendant”).1

This is an action for equitable and legal relief to restrain violations of the Non-Disclosure

Agreement that John Doe entered into with Defendant, as well as for breach of contract.

                                                   PARTIES

    1. John Doe is a natural person and resident of the State of Maine.

    2. Defendant is a natural person and resides at in Dracut, Massachusetts.

                                      JURISDICTION AND VENUE

    3. This Court has jurisdiction pursuant to 28 U.S.C. § 1332 based on diversity of citizenship

of the parties. The amount in controversy exceeds $75,000.


1
 Plaintiff and Defendant are both identified herein by pseudonyms for the reasons articulated in the Plaintiff’s
Moiton to Proceed Under Pseudonym and for Protective Order.

                                                         1
   4. Venue in the District of Maine is proper pursuant to 28 U.S.C. § 1391(b)(3) because

Defendant agreed to Maine as a venue and purposefully directed her actions and associated

harms at Plaintiff John Doe, a resident of the State of Maine.

                                             FACTS

   5. John Doe is a winner of the Maine State Lottery.

   6. Defendant is the mother of John Doe’s minor daughter.

   7. Due to the unique safety, security, and privacy concerns associated with winning the

lottery, Defendant agreed to enter into a Non-Disclosure Agreement (“NDA”) with John Doe to

promote the safety and security of John Doe, Defendant, and their daughter and to avoid the

irreparable harm of allowing the media or the public in general to discover, inter alia, John

Doe’s identity, physical location, and assets. (A true and correct copy of the signed NDA

between John Doe and Defendant is attached hereto as Exhibit A.)

   8. The NDA was supported by good and sufficient consideration. As consideration for

Defendant’s agreement to enter into the NDA, John Doe agreed to provide Defendant with

support and ongoing security resources. (Id. at ¶ 2).

   9. The NDA sets forth a “Covenant” provision at paragraph 2, in which Defendant agrees to

hold in confidence and not disclose to anyone other than an “Authorized Recipient,” “any and all

information which she necessarily obtains in the maintenance and support of Daughter,”

including any “Protected Subject Matter.” (Id.).

   10. The NDA defines “Protected Subject Matter” at paragraph 1(b) to include:

               Information indicating that [John Doe] was the winner of the
               Maine lottery in January of 2023, the amount or existence of any
               assets of [John Doe], the amount of any assets being conveyed to
               the Daughter by [John Doe], the existence of children, family
               members, friends, and business associates, identity of the physical
               location or assets of [John Doe], or other information which


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                   [Defendant] reasonably knows not to disclose to protect [John
                   Doe’s] privacy.

(Id. at ¶ 1(b)).

    11. The NDA defines “Authorized Recipient” at paragraph 1(a) to include:

                   [Defendant], Daughter, [Defendant’s] significant other, parties’
                   attorneys, financial advisors, accountants, advisors or others who
                   necessarily need to know or to be authorized by their principals to
                   discuss the Protected Subject Matter defined herein.

(Id. at ¶ 1(a)). It makes clear that “[t]o the extent that [Defendant] feels it is necessary to

disclose the Protected Subject Matter to a person or entity that is not an Authorized

Recipient…[Defendant] must obtain [John Doe’s] permission to disclose an additional

Authorized Recipient and obtain written acknowledgement of the terms of this Agreement and

that person’s consent to be bound by the same.” (Id.).

    12. The NDA expounds in a “Disclosure” provision at paragraph 7 that:

                In order for [Defendant] to be able to disclose any of the Protected
                Subject Matter set forth in this Agreement to anyone else…such other
                person must first individually execute a similar Non-Disclosure
                Agreement with [John Doe].

(Id. at ¶ 7).

    13. In the event of “an intentional or an inadvertent disclosure” of any Protected Subject

Matter by Defendant, the NDA sets forth a “Notice of Breach” provision at paragraph 4 stating:

        [Defendant] shall report that fact to [John Doe] within 24 hours of first
        acquiring knowledge of that disclosure. Such report shall be made in
        writing and shall include, at a minimum, (a) the identity of the person(s) to
        whom unauthorized disclosure was made; (b) when such unauthorized
        disclosure occurred; (c) the medium by which the unauthorized disclosure
        occurred; and (d) efforts undertaken by the disclosing party to retrieve the
        disclosed Protected Subject Matter and/or minimize its republication.

(Id. at ¶ 4).




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    14. The NDA sets forth a “Remedies for Breach” provision at paragraph 5, in which

Defendant recognizes and acknowledges that the terms and conditions of the NDA are

“reasonable and necessary in order to protect [the] legitimate interests of [John Doe] and

Daughter and are not unduly burdensome to [Defendant].” (Id. at ¶ 5). The “Remedies for

Breach” provision also memorializes Defendant’s agreement that a breach of the NDA “could

cause irreparable harm to all parties herein.” (Id.). Further, Defendant acknowledges and agrees

in the “Remedies for Breach” provision that John Doe shall be entitled to legal and equitable

relief for “any breach or threatened breach of this Agreement by [Defendant], without the

requirement or necessity of proving actual damages by [John Doe],” in the form of: (a)

temporary injunctive relief, without the need for John Doe to post a bond; (b) an award of

monetary damages; and (c) reasonable attorney fees, costs, and expenses incurred by John Doe.

(Id.).

    15. The NDA expressly provides that it “is effective as of the 8th day of February 2023” and

“shall remain in effect through June 1, 2032, representing the date of majority for the Daughter.”

(Id. at line 1 and ¶ 9).

    16. In or about September 2023, John Doe discovered that Defendant has violated the NDA

by directly or indirectly disclosing Protected Subject Matter, without John Doe’s permission, to

persons other than those defined as an “Authorized Recipient” in paragraph 1(a) of the NDA and

by failing to report these disclosures to John Doe as required by paragraph 4 of the NDA. (See

id. at ¶¶ 1(a) and (4)).

    17. Upon information and belief, Defendant has disclosed Protected Subject Matter in one or

more telephone communications with John Doe’s father and stepmother.




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   18. Upon information and belief, and as a result of Defendant’s unauthorized disclosure of

Protected Subject Matter to John Doe’s father and stepmother, other third parties are now in

possession of John Doe’s Protected Subject Matter, including his sister.

                                 COUNT I
                    DAMAGES AND INJUNCTIVE RELIEF FOR
                 BREACH OF CONTRACT AGAINST DEFENDANT
             FOR VIOLATION OF THE NON-DISCLOSURE AGREEMENT

   19. John Doe realleges and incorporates by reference herein all of the allegations contained

in Paragraphs 1 through 18 of this Complaint.

   20. The NDA executed by Defendant is a valid and enforceable contract with John Doe.

   21. Defendant’s unauthorized disclosure of Protected Subject Matter to third parties

constitutes a breach of the “Covenant,” “Notice of Breach,” and “Disclosure” provisions of the

NDA.

   22. As a result of Defendant’s unauthorized disclosures, John Doe has suffered irreparable

injury, and there is immediate and imminent danger that John Doe will continue to suffer

irreparable injury for which there is no adequate remedy at law.

   23. John Doe is entitled to preliminary and permanent injunctive relief against further

breaches by Defendant of the NDA.

   24. John Doe has suffered damages as a direct result of Defendant’s breach and is entitled to

an award of actual and compensatory damages in addition to reasonable attorney fees, costs, and

expenses incurred in connection with this litigation.

                                     PRAYER FOR RELIEF

       WHEREFORE, John Doe respectfully requests that this Court:




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       A. Enter a preliminary and permanent injunction enjoining Defendant from violating the

          NDA, during the applicable time period set forth in the NDA;

       B. Require Defendant to abide by the “Notice of Breach” provision at paragraph 4 of the

          NDA and immediately report in writing as to each unauthorized disclosure:

              •   the identity of the person(s) to whom unauthorized disclosure was made;
              •   when such unauthorized disclosure occurred;
              •   the medium by which the unauthorized disclosure occurred; and
              •   efforts undertaken by each Defendant to retrieve the disclosed Protected
                  Subject Matter and/or minimize its republication;

       C. Award John Doe actual and compensatory damages in an amount to be determined at

          trial, but no less than $100,000 per unauthorized disclosure;

       D. Award John Doe all reasonable attorney fees, expenses, and court costs incurred in

          the prosecution of this lawsuit; and

       E. Grant John Doe any such other and further relief as this Court deems just and

          equitable.

Respectfully submitted this 14th day of November, 2023




                                            By: /s/ Gregory Brown
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